AO OE (Rev TTL) ONDIA 02/19) Craminal Complaint

UNITED STATES DISTRICT COURT

for the

Northern District of Iowa

United States of America }
v. }
} Case No. 20-CR-85
)
}
Julius Sullivan }
)
Defendatt{s)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the fotlowing is true to the best of ny knowledge and belief.
On or about the date(s) of October 7, 2020 in the county of Linn in the
Northern District of lowa , the defendant(s) violated:
Code Section Offense Description

18 U.S.C. $ 75I(a) Escape from Custody

This criminal complaint is based on these facts:

See attached Affidavit.

a Continued on the attached sheet.

Bk

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Nicholas aA Deputy United States Marshal
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7 5 . Dye . > ooh,
J Sworn to before me and signed in my presence. Printed aaine and tithe

¥ Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by telephone or other reliable
electronic means.

Date: /ofoq /: 2028 beter |eAMat? iteg—
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Northern District of fowa Kelly K.E. Mahoney, Chief United States Magistrate Judge

Printed name and title

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AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

I, Nicholas Bonifazi, being first duly sworn on oath, deposes and states
the following:

INTRODUCTION AND AGENT BACKGROUND

1, I have been employed with the United States Marshals Service
(USMS) since November of 2009. I am a graduate of the Federal Law
Enforcement Training Center (FLETC) Criminal Investigator Training
Program. I am currently assigned as a Criminal Investigator for the USMS
in the Northern District of lowa. My current duties included conducting
fugitive investigations and investigating violations of federal law including,
but not limited to, violations of Title 18, United States Code, Section 751(a)
(escape from custody).

2. This affidavit is in support of a criminal complaint charging
Julius SULLIVAN with a violation of Title 18, United States Code, Section
751(a). The information contained in this affidavit is drawn from information
provided by other law enforcement officials, government agencies, the review
of documents, as well as my own experience and training. Where statements
of others are set forth in this affidavit, they are set forth in substance and not

verbatim.

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PROBABLE CAUSE

3. On October 25, 2018, SULLIVAN pled guilty to distribution of a
controlled substance near a playground in violation of Title 21, United States
Code, Sections 841(a){1), 841(b)(1)(C), and 860(a) in case number 18-CR-0080
in the United States District Court for the Northern District of lowa. On
April 4, 2019, the Court sentenced SULLIVAN to 30 months’ imprisonment
in the custody of the Attorney General, specifically the Federal Bureau of
Prisons (FBOP), with 6 years of supervised release to follow.

4, On June 4, 2020, FBOP transferred SULLIVAN to the Gerald R.
Hinzman Center (the Hinzman Center), a residential reentry center in Cedar
Rapids, Iowa. The transfer was for purposes of pre-release planning.
SULLIVAN was to serve the remainder of his FBOP sentence at the Gerald
Hinzman Center, with a projected release date of December 31, 2020.

5. On October 7, 2020, at approximately 7:00 a.m., while still in the
custody of the Attorney General, SULLIVAN signed out of the Hinzman
Center on an approved pass. He was due to return at 6:00 p.m. SULLIVAN
failed to return and the Hinzman Center placed him on escape status.
Hinzman Center personnel notified the USMS of the escaped prisoner.

6. SULLIVAN did not contact the Hinzman Center again. At

present, his whereabouts are unknown.

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7. Based on the foregoing, my knowledge, training and experience,
I respectfully submit that there is probable cause to believe Julius
SULLIVAN knowingly escaped from the custody of the Attorney General
while being housed by the FBOP at the Hinzman Center on October 7, 2020,
in violation of Title 18, United States Code, Section 751(a).

I declare under the penalty of perjury that the foregoing facts and

circumstances are true and correct to the best of my knowledge and belief.

Executed this OF day of October, 2020.

Nicholas aes
Deputy United States Marshal

Subscribed and sworn to me by phone and other reliable electronic
means this _9th day of October, 2020.

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Kelly K. i Mahoney
Chief United States es, Judge
Northern District of lowa

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